Case 21-04731               Doc 26-2           Filed 12/20/21 Entered 12/20/21 18:30:31                                   Desc Proposed
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